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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


ALLISON L. MERRILL, et al.,

          Plaintiffs,                        Case No. 1:20−cv−183

    v.                                       Hon. Paul L. Maloney

TRANSWORLD SYSTEMS, INC.,

          Defendant.
                                       /


            NOTICE OF APPOINTMENT OF FACILITATIVE MEDIATOR
      This matter has been referred to facilitative mediation, to be conducted in
accordance with W.D. Mich. LCivR 16.3 and the Voluntary Facilitative Mediation
Program Description adopted by the Court.
        TAKE NOTICE that Steven L. Barney is hereby appointed Mediator. The initial
facilitative mediation session shall take place on or before September 1, 2021, and
shall take place at the time and location designated by the Mediator. The Mediator
has the discretion to schedule additional sessions as necessary to facilitate resolution
of this dispute. All parties or individuals with settlement authority are required to
attend the mediation session(s). All parties are directed to attend all scheduled
mediation session(s) with their respective counsel of record. Corporate parties must
be represented by an agent with the authority to negotiate a binding settlement.
        FURTHER, not less than seven (7) days prior to the scheduled mediation
session, each party is to provide the Mediator with a concise memorandum, no more
than ten (10) double−spaced pages in length, setting forth the party's position
concerning the issues to be resolved through mediation, including issues relative to
both liability and damages. The Mediator may circulate the parties' memoranda with
the consent of all parties.
       The Mediator shall encourage and assist the parties in reaching settlement of
their dispute but will not compel or coerce the parties to enter into a settlement
agreement.

       The referral of this case to mediation will not delay or modify any time period
relating to its disposition, without express order of the court. Unless otherwise
ordered, parties are not precluded from filing pretrial motions or pursuing discovery.
      Pursuant to Fed. R. of Evid. 408, all information disclosed during the mediation
session, including the conduct and demeanor of the parties and their counsel during
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the proceedings, must remain confidential, and must not be disclosed to any other
party nor to this court, without consent of the party disclosing the information. The
Mediator may not be called as a witness nor may the Mediator's records be
subpoenaed or used as evidence.
       FURTHER, within seven (7) days of completion of the mediation session, the
Mediator will file a brief report with the ADR administrator, stating only who
participated in the mediation session and whether settlement was reached. Such a
post−mediation report is not to contain any additional information which may breach
the principles of confidentiality and privacy noted herein.
      FURTHER, within seven (7) calendar days of this notice, by April 19, 2021, the
parties shall pay an assessment fee of $50.00 (fifty dollars), of which $25.00
(twenty−five dollars) is to be paid by the plaintiff(s) and $25.00 (twenty−five dollars) is
to be paid by the defendant(s). Checks for assessment fees should be made
payable to the Federal Bar Association and submitted to the Clerk of the Court,
399 Federal Building, 110 Michigan St., N.W., Grand Rapids, MI 49503. In addition,
the Mediator shall be paid his hourly rate of $350.00 per hour, which shall be
assessed in as many equal parts as there are represented parties. In the event of
noncompliance, the Mediator may petition the court directing payment of his fees.
        This referral is not a substitute for trial and the above entitled case will proceed
to trial in the event settlement is not reached.



                                          CLERK OF COURT

Dated: April 12, 2021              By:     /s/ M. Clapp
                                          Deputy Clerk/ADR
